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UNITED STATES DISTRICT COURT 65 ;';§_;’G j 6 ii 91 82 0 9
WESTERN DISTRICT OF TENNESSEE ` "
Western Division

UNITED STATES OF AMERICA

 

-vs- Case No. 2 :03cr20347-B

SAMUEL GREEN

 

OR])ER APPOINTING COUNSEL PURSUANT 'I`O
THE CRIMINAL JUSTICE ACT

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-styled case, and is otherwise qualified for appointment of counsel Accordingly,
the Court makes the following appointment pursuant to the Criminal Justiee Act (18 U.S.C. § 3006A):

APPOINTMENT OF COUNSEL
- The Federal Public Defender is appointed as counsel for the Defendant.

TYPE OF APPOINTMENT

DONE and ORDERED in 167 North Main, Memphis, this l § day of August,

2005.

'TU M. PHAM
UNITED STATES MAGISTRATE JUDGE

Copies furnished to:

United States Attorney

United States Marshal

Pretrial Services Off`lce

Assistant Federal Public Defender
Intake

SAMUEL GREEN

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 9 in
case 2:03-CR-20347 Was distributed by faX, mail, or direct printing on
August 17, 2005 to the parties listed.

 

 

PDA

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Honorable J. Breen
US DISTRICT COURT

